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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

                                     )
    In re:                           )                Chapter 11
                                     )
                               1
    HDR HOLDING, INC., et al.,       )                Case No. 19-11396 (MFW)
                                     )
                     Debtors.        )                (Jointly Administered)
                                     )
                                     )
    THE OFFICIAL COMMITTEE OF        )
    UNSECURED CREDITORS OF HDR       )
    HOLDING, INC. AND SCHRAMM INC.,  )
                                     )
                     Plaintiff,      )
                                     )
               v.                    )                 Adv. Proc. No. ________________
                                     )
    GENNX360 CAPITAL PARTNERS, L.P., )
    GENNX 360 CAPITAL FUND, L.P.,    )
    OSCAR GROOMES, JERRY BURRIS, ED  )
    BREINER, BOBBY BRYAN, JOHN       )
    BELLIS, THOMAS STRAUSS, PRATIK   )
    RAJEEVAN, RONALD E. BLAYLOCK,    )
    OTIS SPENCER, JETTE CAMPBELL,    )
    JAMES DOLAN, CRAIG MAYMAN, JESSE )
    GLOVER, LLOYD TROTTER, AND       )
    CHUCK CASTINE.                   )
                                     )
                     Defendants.     )
                                     )


                                          COMPLAINT



       [Filed Under Seal Pursuant to Relief Requested in the Motion to Seal]



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          The Debtors in these cases, along with the last four digits of each Debtor’s federal tax
          identification number, are: HDR Holding, Inc. (2015) and Schramm, Inc. (0480). The
          Debtors’ mailing address is 800 E. Virginia Ave., West Chester, PA 19380.



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Dated: September 11, 2019                   Respectfully submitted,
Wilmington, Delaware
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                                            Unsecured Creditors




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